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                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF OHIO
                               WESTERN DIVISION


UNITED STATES OF AMERICA                     :
                                             :       Case No. 1:20-CR-077 (3)
                                             :
              vs.                            :       Hon. Timothy S. Black
                                             :
                                             :
NEIL CLARK                                   :




          SUGGESTION OF DEATH AS TO DEFENDANT NEIL CLARK AND
          MOTION TO ABATE PROSECUTION AND DISMISS INDICTMENT



       The United States hereby respectfully notifies the Court and all interested parties that

Defendant Neil Clark died on March 15, 2021.

       The instant suggestion of death is documented and supported by the attached Exhibit “A”,

a copy of the Certification of Death from the Bureau of Vital Statistics of the State of Florida.

       Furthermore, as a result of Defendant Clark’s death, it is respectfully submitted that this

Court should dismiss the indictment against Mr. Clark in the instant case.



                                                      Respectfully submitted,

                                                      VIPAL J. PATEL
                                                      Acting United States Attorney

                                                      s/ Emily N. Glatfelter
                                                      EMILY N. GLATFELTER (0075576)
                                                      MATTHEW C. SINGER (IL 6297632)
                                                      Assistant United States Attorneys
                                                      221 East Fourth Street, Ste. 400
                                                      Cincinnati, Ohio 45202
                                                      Office: (513) 684-3711
                                                      Fax: (513) 684-6385
                                                      E-mail: Emily.Glatfelter@usdoj.gov
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                                CERTIFICATE OF SERVICE



       The undersigned counsel hereby acknowledges that the foregoing Suggestion of Death as to

Defendant Neil Clark and Motion to Abate Prosecution an Dismiss Indictment             has been

electronically filed via the Court’s CM/ECF system this 1ST day of June, 2021, and has been

electronically served upon all counsel of record.



                                                    s/ Emily Glatfelter
                                                    EMILY N. GLATFELTER
                                                    Assistant United States Attorney
